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               UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF GEORGIA
                    STATESBORO DIVISION

MISTRELL ALVIN,

     Petitioner,
v.                                         Case No. CV611-065
                                                    CR606-026
UNITED STATES OF AMERICA,

     Respondent.

                                  ORDER
       Let a copy of this Report and Recommendation be served upon petitioner
and counsel for respondent. Any objections to this Report and
Recommendation must be filed with the Clerk of Court not later than January
24, 2012. The Clerk shall submit this Report and Recommendation together
with any objections to the Honorable B. Avant Edenfield, United States
District Judge, on January 25, 2012. Failure to file an objection within the
specified time means that this Report and Recommendation may become the
opinion and order of the Court, Nettles v. Wainwright, 677 F.2d 404 (5th Cir.
1982), and further waives the right to appeal the District Court's Order.
Thomas v. Arn, 474 U.S. 140 (1985).
       All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the
District Judge to whom this case is assigned.
       SO ORDERED this 10th day of January, 2012.


                                            Z291zMk
                                            UNITED STATES MAGISTRATE JUDGE
                                            SOUTHERN DISTRICT OF GEORGIA
